               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :        1:20CR321-1
                                        :
              v.                        :
                                        :
BAIJOO POTTAKULATH THOMAS               :


                               FACTUAL BASIS

      NOW COME the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and as a factual basis under Rule 11(b)(3), Fed. R. Crim. P., states as follows:

      Baijoo Pottakulath Thomas (“Thomas”) was born on July 30, 19XX in

Keekozhur, Kerala, India and is a citizen of India. On or about April 19, 2006,

University Hospital, University of Louisville Health Care filed an application

for an immigrant visa and alien registration on behalf of Thomas’ spouse for

an employment-based immigrant visa classification of EX-1. If approved,

Thomas would become eligible, as spouse, to derivatively obtain immigrant

visa classification EX-2. On July 24, 2006, the visa application was approved

for Thomas’ spouse, thereby approving an immigrant visa classification of EX-

2 for Thomas. On November 6, 2006, Thomas entered the United States as a




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lawful immigrant and has held the status of lawful permanent resident. His

alien file reference number is XXX 854 303.

      Thomas has never applied for nor petitioned for United States

citizenship. Thomas knew he was not a United States citizen at all relevant

times. Thomas, in fact, is not and never has been a United States citizen.

      On November 3, 2016, in Durham County, North Carolina, Thomas

executed and submitted a voter registration form titled “North Carolina Voter

Registration Application.” In box 1, the form states, “Are you a citizen of the

United States of America?” The box is checked “yes” indicating that Thomas is

a citizen of the United States. The attestation above the signature line at the

bottom of the form states “I attest, under penalty of perjury, that in addition

to having read and understood the contents of this form, that: I am a United

States citizen, as indicated above . . . .” (emphasis in original). Thomas signed

the form, so attesting.

      On November 3, 2016, in Durham County, North Carolina, Thomas

voted in the November 2016 election at a so-called “Early Voting” site. The

November 2016 election was held for the purpose of electing a candidate for

the office of President, Vice President, Member of the United States Senate,




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and Member of the United States House of Representatives, among other

positions on the ballot.

      On March 23, 2017, Thomas acknowledged to officials with the North

Carolina Board of Elections that he had registered to vote and voted in the

November 2016 election.

      On March 11, 2019, Thomas acknowledged to Department of Homeland

Security agents during a voluntary, non-custodial interview that he was a

citizen and native of India, that he was a legal permanent resident of the

United States and not a citizen of the United States, that he registered to vote

by submitting the North Carolina Voter Registration Application described

above, and that he voted in the November 2016 election.

      This the 28th day of September, 2020.


                                    Respectfully submitted,



                                    /S/ MATTHEW G.T. MARTIN
                                    United States Attorney
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                         CERTIFICATE OF SERVICE



      I hereby certify that on September 28, 2020, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following:



      Renorda Pryor, Esquire



                                       /s/ MATTHEW G.T. MARTIN
                                       United States Attorney
                                       NCSB #32814
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